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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

 

Alexandria Division
MARK RICE,
Plaintiff,
Vv. No. 1:22-cv-00587-MSN-WEF
ivote.com, a domain name,
Defendant.
ORDER

This matter comes before the Court upon the Report and Recommendation issued by
Magistrate Judge William E. Fitzpatrick (“Recommendation”) on December 15, 2022 (Dkt. No.
23). Pursuant to Federal Rule of Civil Procedure 72(b)(2), the deadline for submitting any |
objections to the Recommendation was December 29, 2022. To date, no objections have been
filed.

Thus, after reviewing the record and Judge Fitzpatrick’s Recommendation, and finding
good cause to do so, the Court hereby APPROVES and ADOPTS the Recommendation (Dkt. No.
23). Accordingly, it is hereby

ORDERED that Plaintiff's Motion for Default Judgment (Dkt. No. 14) is GRANTED IN
PART and DENIED IN PART; it is further

ORDERED that Plaintiff's Motion for Default Judgment as to Count V of the Complaint
(Dkt. No. 1), alleging a violation of the Anti-Cybersquatting Consumer Protection Act, 15 U.S.C.
§ 1125(d), is GRANTED; it is further

ORDERED that Plaintiff's Motion for Default Judgment as to Counts I, III, and IV,
alleging violations under the Lanham Act §§ 1114(1), 1125(a), and 1125(c), and Count II, alleging

federal unfair competition, is DENIED; it is further
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ORDERED that Count II, alleging federal unfair competition, is DISMISSED WITH
PREJUDICE for failure to state a claim; it is further

ORDERED that Counts I, III, and IV, alleging violations under the Lanham Act §§
1114(1), 1125(a), and 1125(c), are DISMISSED WITHOUT PREJUDICE as moot; it is further

ORDERED that default judgment on Count V of the Complaint, alleging a violation of
the Anti-Cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d), is hereby entered against
Defendant Domain Name, ivote.com; and it is further

ORDERED that the registration, ownership, and control of Defendant Domain Name,
ivote.com, be transferred to and maintained with Plaintiff.

The Clerk of Court is directed to enter judgment as set forth above pursuant to Rule 55 of
the Federal Rules of Civil Procedure.

It is SO ORDERED. /s/ Ll

Michael S. Nachmanoff

United States District Judge
Hon. Michael S. Nachmanoff
United States District Judge

Alexandria, Virginia
March 22, 2023
